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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )   CASE NO. 2:10-CR-15-WKW
                                            )
RONALD DEMARKUS THOMAS                      )

                                        ORDER

       On December 29, 2010, the Magistrate Judge filed a Report and Recommendation

(Doc. # 135) regarding Defendant’s Motion to Suppress (Doc. # 87). Defendant has filed

no timely objections. Having conducted an independent review of the file in this case and

upon CONSIDERATION of the Recommendation of the Magistrate Judge, it is ORDERED

as follows:

       1.     The Recommendation of the Magistrate Judge (Doc. # 135) is ADOPTED;

       2.     The defendant’s Motion to Suppress (Doc. # 87) is DENIED.

       DONE this 14th day of January, 2011.


                                                /s/ W. Keith Watkins
                                           UNITED STATES DISTRICT JUDGE
